     Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 1 of 26



                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



UNITED STATES OF AMERICA               §
                                       §
v.                                     §      CRIMINAL NUMBER H-04-025-SS
                                       §
RICHARD A. CAUSEY, JEFFERY K.          §
SKILLING, and KENNETH L. LAY           §


                       MEMORANDUM OPINION AND ORDER


       Pending before the court are Jeffery K. Skilling’s Motion to

Dismiss Counts 42 through 51 (Insider Trading Counts) [Defense

Motion No. 5] (Docket Entry No. 389), and Skilling’s Joinder in

Defendant Richard A. Causey’s Motion to Dismiss Counts 21, 22, 24,

25, 26, 28 & 29 for Failure to State an Offense and Failure to

Allege an Offense with Specificity [Defense Motion No. 7] (Docket

Entry No. 397) in which Skilling moves to strike paragraph 65 of

the Second Superceding Indictment ((SSI) Docket Entry No. 97). For

the following reasons these motions will be denied.


                          I.   Factual Allegations

       The SSI alleges that Enron hired Skilling in August of 1990,

that Skilling held various executive and management positions at

Enron until January of 1997 when he became President and Chief

Operating Officer (COO), and that from February to August of 2001

Skilling served as Enron’s President and Chief Executive Officer

(CEO).    (SSI ¶ 7)     The offenses charged in the SSI arise from an
   Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 2 of 26



alleged scheme to deceive the investing public, including Enron’s

shareholders, the Securities Exchange Commission (SEC), and others

     about the true performance of Enron’s businesses by:
     (a) manipulating Enron’s publicly reported financial
     results;   and  (b)   making   public   statements   and
     representations about Enron’s financial performance and
     results that were false and misleading in that they did
     not fairly and accurately reflect Enron’s actual
     financial condition and performance, and they omitted to
     disclose facts necessary to make those statements and
     representations fair and accurate.

(SSI ¶ 5)     The SSI charges the defendants with having “enriched

themselves as a result of the scheme through salary, bonuses,

grants of stock and stock options, other profits, and prestige

within their professions and communities.”             (SSI ¶ 14)   The SSI

alleges     that    “between    1998     and   2001,    SKILLING    received

approximately $200 million from the sale of Enron stock options and

restricted stock, netting over $89 million in profit, and was paid

more than $14 million in salary and bonuses.”           (¶ 15)


                          II.   Standard of Review

     Federal Rule of Criminal Procedure 12(b) authorizes motions to

dismiss that raise “any defense, objection, or request that the

court can determine without a trial of the general issue.” Fed. R.

Crim. P. 12(b)(2).      In assessing challenges to the sufficiency of

an indictment the court is required to “take the allegations of the

indictment as true and to determine whether an offense has been

stated.”    United States v. Kay, 359 F.3d 738, 742 (5th Cir. 2004).

Federal    Rule    of   Criminal   Procedure    7(c)(1)   states    that    an


                                       -2-
     Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 3 of 26



indictment      “must    be    a   plain,      concise,   and    definite      written

statement of the essential facts constituting the offense charged.”

       The test for sufficiency is “not whether the indictment
       could have been framed in a more satisfactory manner, but
       whether it conforms to minimum constitutional standards”;
       namely, that it “[(1)] contain[] the elements of the
       offense charged and fairly inform[] a defendant of the
       charge against which he must defend, and [(2)], enable[]
       him to plead an acquittal or conviction in bar of future
       prosecutions for the same offense.”

Kay, 359 F.3d at 742 (quoting United States v. Ramirez, 233 F.3d

318,    323    (5th     Cir.    2000),      overruled     on    other    grounds    by

United States v. Longoria, 298 F.3d 367 (5th Cir. 2002)). See also

Hamling v. United States, 94 S.Ct. 2887, 2907 (1974).                    “An indict-

ment that tracks a statute’s words is generally sufficient ‘as long

as    those    words    fully,     directly,     and    expressly,       without   any

uncertainty or ambiguity, set forth all the elements necessary to

constitute the offense intended to be punished.’” United States v.

Arlen, 947 F.2d 139, 145 (5th Cir. 1991), cert. denied, 112 S.Ct.

1480 (1992) (quoting United States v. London, 550 F.2d 206, 210

(5th Cir. 1977)). Evidence outside the indictment is irrelevant to

a    determination      of    whether    the    indictment      itself    is   legally

sufficient.      See United States v. Mann, 517 F.2d 259, 266-267 (5th

Cir. 1975), cert. denied, 96 S.Ct. 878 (1976).


        III.    Insider Trading Counts Alleged Against Skilling

       Skilling seeks dismissal of counts 42 through 51 of the SSI,

which charge him with insider trading in violation of 17 C.F.R.


                                          -3-
     Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 4 of 26



§ 240.10b-5, 15 U.S.C. §§ 78j(b) and 78ff, and 18 U.S.C. §§ 2 and

3551, because these counts “fail to allege essential elements of

the offenses charged and fail to give sufficient notice of the

charges Skilling faces.”1


A.     Allegations

       Paragraph 119 of the SSI reasserts the allegations made in

¶¶ 1-85.     Paragraph 120 of the SSI alleges that

       [o]n or about the dates set forth below, each such date
       constituting a separate count of this Indictment . . .
       defendant JEFFREY K. SKILLING knowingly and willfully
       used and employed manipulative and deceptive devices and
       contrivances, by use of means and instrumentalities of
       interstate commerce, in violation of Rule 10b-5 of the
       Rules and Regulations of the SEC (Title 17, Code of
       Federal Regulations, Section 240.10b-5), in that he
       engaged in acts, practices, and courses of business which
       would and did operate as a fraud and deceit upon members
       of the investing public in connection with the purchase
       or sale of securities, in violation of Title 15,
       United   States   Code,   Sections   78j(b)   and   78ff.
       Specifically, while in possession of material non-public
       information, SKILLING sold shares of Enron stock and
       generated total proceeds of $62,626,401.90.

SSI ¶ 120.


B.     Applicable Law

       Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b),

provides that

       [i]t shall be unlawful for any person, directly or
       indirectly, by the use of any means or instrumentality of



       1
      Jeffrey Skilling’s Motion to Dismiss Counts 42 Through 51
(Insider Trading Counts)[Defense Motion No. 5], Docket Entry
No. 389, p. 1.

                                      -4-
   Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 5 of 26



     interstate commerce or of the mails, or of any facility
     of any national securities exchange—

     . . .

     (b) To use or employ, in connection with the purchase or
     sale of any security registered on a national securities
     exchange . . . any manipulative or deceptive device or
     contrivance in contravention of such rules and
     regulations as the Commission may prescribe as necessary
     or appropriate in the public interest or for the
     protection of investors.

15 U.S.C. § 78j(b).    Pursuant to this section, the SEC promulgated

Rule 10b-5, which provides that

     [i]t shall be unlawful for any person, directly or
     indirectly, by the use of any means or instrumentality of
     interstate commerce, or of the mails or of any facility
     of any national securities exchange,

     (a) To employ any device, scheme, or artifice to defraud,

     (b) To make any untrue statement of a material fact or to
     omit to state a material fact necessary in order to make
     the statements made, in the light of the circumstances
     under which they were made, not misleading, or

     (c) To engage in any act, practice, or course of business
     which operates or would operate as a fraud or deceit upon
     any person, in connection with the purchase or sale of
     any security.

17 C.F.R. § 240.10b-5.

     Although § 10(b) does not use the term “insider trading,” a

violation of § 10(b) and Rule 10b-5 occurs “when a corporate

insider trades in the securities of his corporation on the basis of

material nonpublic information.”          United States v. O’Hagan, 117

S.Ct. 2199, 2207 (1997).     Insider trading constitutes a “deceptive

device” under § 10(b) because “a relationship of trust and


                                    -5-
     Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 6 of 26



confidence [exists] between the shareholders of a corporation and

those insiders who have obtained confidential information by reason

of their position in the corporation.”               Id. (quoting Chiarella v.

United States, 100 S.Ct. 1108, 1114 (1980)).                   The relationship

between corporate insiders and shareholders “gives rise to a duty

to disclose [or to abstain from trading] because of the necessity

of preventing a corporate insider from . . . tak[ing] unfair

advantage of . . . uninformed . . . stockholders.”                 Id. (quoting

Chiarella, 100 S.Ct. at 1115).             This “classical” theory of insider

trading    “applies    not    only    to    officers,   directors,      and   other

permanent     insiders   of   a   corporation,       but    also   to   attorneys,

accountants,      consultants,       and    others    who   temporarily       become

fiduciaries of a corporation.” Id. (citing Dirks v. SEC, 103 S.Ct.

3255, 3262 (1983)).          “The classical theory targets a corporate

insider’s breach of duty to shareholders with whom the insider

transacts.”     Id.


C.     Analysis

       Skilling argues that the insider trading counts should be

dismissed because they allege the wrong mens rea and because they

fail to identify the material, nonpublic information underlying

each alleged insider trade.2




       2
      Memorandum in Support of Jeffrey Skilling’s Motion to Dismiss
Counts 42 Through 51 (Insider Trading Counts), attached to Docket
Entry No. 389 (Skilling Memorandum), pp. 1-2.

                                           -6-
   Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 7 of 26



     1.    Mens Rea

     Skilling argues that all ten insider trading counts,

     but especially the first five—which target trades
     predating the October 23, 2000 effective date of SEC Rule
     10b5-1—allege an erroneous mens rea standard. . .
     [because] the Task Force posits a mens rea standard here
     (merely “possessing” material, non-public information,
     Indictment ¶ 120, rather than intentionally “using” such
     information to defraud) that is contrary to the intent of
     Congress and effectively eliminates the scienter element
     of the charged offense.3

Citing United States v. Smith, 155 F.3d 1051, 1068 n.25 (9th Cir.

1998), cert. denied, 119 S.Ct. 804 (1999), Skilling argues that

“[b]etter reasoned appellate authorities, including the only case

to address the ‘use’ versus ‘possession’ question in the criminal

context, hold that ‘use’ must be proven.”4          Skilling argues that

the charges based on trades that post-date Rule 10b5-1 should be

dismissed for the additional reason that they do not reflect the

new rule’s “awareness” standard.5         The Enron Task Force (“ETF”)

responds that when

     [r]ead practically and not technically, the language of
     the Indictment is sufficient to show [Skilling’s] “use”
     as well as “knowing possession” [of material, nonpublic
     information]. The sentence construction in paragraph 120
     and the placement of “while in possession” before the
     sale of stock informs Skilling that he is accused of
     using the [material, nonpublic] information to [sell]
     stock. . . [Skilling] is thus notified of the charges
     against him and need not be concerned about an additional


     3
      Id. at p. 1.
     4
      Id. (emphasis in original).
     5
      Id. at pp. 2, 5-12.

                                    -7-
   Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 8 of 26



     prosecution under the same facts. . . . Thus, the
     discussion in defendant’s motion on the “use vs.
     possession” debate is largely academic and raises an
     issue the Court need not address.6


           (a)   Use vs. Possession

     The Supreme Court’s determination that § 10(b) and Rule 10b-5

are violated “when a corporate insider trades in the securities of

his corporation on the basis of material nonpublic information,”

O’Hagan, 117 S.Ct. at 2207, has raised the question of whether the

phrase “on the basis of material nonpublic information” requires a

showing   that   an   insider    actually    used   material,     nonpublic

information obtained through his position in deciding to make the

securities trade at issue, or whether a showing that the insider

merely    possessed   material,     nonpublic    information     when       the

securities trade occurred is sufficient to establish liability.

See In re Enron Corp. Securities, Derivatives & “ERISA Litig.”, 258

F.Supp.2d 576, 591-593 (S.D. Tex. 2003).        Considering the issue in

the context of a criminal case, the Ninth Circuit held that a

conviction could not be had absent proof that the defendant not

only possessed material, non-public information, but that the

defendant also used that information in deciding to make the

securities trade at issue.      See Smith, 155 F.3d at 1066-1069.




     6
      Government’s Consolidated Response to Defendants’ Pretrial
Motions, Docket Entry No. 416, pp. 71-72.

                                    -8-
      Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 9 of 26



Thus, in the Ninth Circuit a criminal conviction for insider

trading cannot be had without proof that a causal connection exists

between the material, nonpublic information and the trade at issue.

Id.      Considering the issue in a civil enforcement action, the

Eleventh     Circuit    held   that   the    insider   defendant’s    “knowing

possession” of material, nonpublic information raises a “strong

inference” that the defendant used that information in trading,

sufficient to make a prima facie showing of liability that the

defendant could rebut with evidence showing that the material,

nonpublic information was not a factor in the decision to trade.

SEC v. Adler, 137 F.3d 1325, 1337-1339 (11th Cir. 1998).               But see

United States v. Teicher, 987 F.2d 112, 120-121 (2d Cir.), cert.

denied, 114 S.Ct. 467 (1993) (suggesting that “knowing possession”

is sufficient due to the difficulty of establishing actual “use,”

but finding resolution of the issue unnecessary under the facts of

the case).      See also Smith, 155 F.3d at 1069 & n.27 (declining to

apply Adler presumption in a criminal case but expressing no view

as to its applicability in a civil enforcement proceeding).


              (b)   Rule 10b5-1

        In answer to the question of “what, if any, causal connection

must be shown between the trader’s possession of inside information

and his or her trading,” the SEC promulgated Rule 10b5-1, which in

pertinent part provides that



                                       -9-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 10 of 26



        (b) . . . a purchase or sale of a security of an issuer
        is “on the basis of” material nonpublic information about
        that security or issuer if the person making the purchase
        or sale was aware of the material nonpublic information
        when the person made the purchase or sale.

17 C.F.R. § 240.10b5-1(b).               Rule 10b5-1 creates an Adler-type

presumption that a defendant is liable for insider trading upon

proof       that   he   or   she   was   aware   of   the   material,   nonpublic

information when the securities trade at issue occurred that can be

rebutted by evidence that the material, nonpublic information was

not a factor in the defendant’s decision to trade.7


        7
         See 17 C.F.R. § 240.10b5-1(c):



        Affirmative defenses.

        (1)(i) Subject to paragraph (c)(1)(ii) of this section,
        a person’s purchase or sale is not “on the basis of”
        material nonpublic information if the person making the
        purchase or sale demonstrates that:

               (A) Before becoming aware of the information, the
               person had: (1) Entered into a binding contract to
               purchase or sell the security, (2) Instructed
               another person to purchase or sell the security for
               the instructing person’s account, or (3) Adopted a
               written plan for trading securities;

               (B) The contract, instruction, or plan described in
               paragraph (c)(1)(i)(A) of this Section: (1) Speci-
               fied the amount of securities to be purchased or
               sold and the price at which and the date on which
               the securities were to be purchased or sold;
               (2) Included a written formula or algorithm, or
               computer program, for determining the amount of
               securities to be purchased or sold and the price at
               which and the date on which the securities were to
               be purchased or sold; or (3) Did not permit the
                                                         (continued...)

                                         -10-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 11 of 26




          (c)   Sufficiency of the Insider Trading Charges

     Skilling argues that the insider trading charges asserted

against him in Counts 42 through 51 should be dismissed for failure

to allege the appropriate mens rea because ¶ 120 of the SSI alleges

only that the charged trades occurred while he possessed material,

nonpublic information but does not allege that he used that

information when he made those trades.       The court is not persuaded

that ¶ 120 fails to allege that he used material, nonpublic

information when making the charged trades.


     7
      (...continued)
          person to exercise any subsequent influence over
          how, when, or whether to effect purchases or sales;
          provided, in addition, that any other person who,
          pursuant to the contract, instruction, or plan, did
          exercise such influence must not have been aware of
          the material nonpublic information when doing so;
          and

          (C) The purchase or sale that occurred was pursuant
          to the contract, instruction, or plan. A purchase
          or   sale  is   not   “pursuant   to  a   contract,
          instruction, or plan” if, among other things, the
          person who entered into the contract, instruction,
          or plan altered or deviated from the contract,
          instruction, or plan to purchase or sell securities
          (whether by changing the amount, price, or timing
          of the purchase or sale), or entered into or
          altered a corresponding or hedging transaction or
          position with respect to those securities.

          (ii) Paragraph (c)(1)(i) of this section is
          applicable only when the contract, instruction, or
          plan to purchase or sell securities was given or
          entered into in good faith and not as part of a
          plan or scheme to evade the prohibitions of this
          section.


                                   -11-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 12 of 26



        Paragraph 120 of the SSI alleges that Skilling

        knowingly and willfully used and employed manipulative
        and deceptive devices and contrivances . . . in violation
        of Rule 10b-5 . . . in that he engaged in acts,
        practices, and courses of business which would and did
        operate as a fraud and deceit upon members of the
        investing public in connection with the purchase or sale
        of securities, in violation of Title 15, United States
        Code, Sections 78j(b) and 78ff.


        The deceptive device that Skilling is alleged to have used is

described in the final sentence of ¶ 120, which alleges “that while

in possession of material non-public information, Skilling sold

shares     of     Enron     stock    and    generated    total   proceeds   of

$62,626,401.90.”          (SSI ¶ 120)      The Supreme Court has stated that

insider “[t]rading on” material, nonpublic information “qualifies

as a ‘deceptive device’ under § 10(b).”                 O’Hagan, 117 S.Ct. at

2207.     The Supreme Court has also stated that theories of insider

trading advanced under § 10(b) and Rule 10b-5 do not “catch all

conceivable forms of fraud involving confidential information . . .

[but, instead catch only] fraudulent means of capitalizing on

[material, nonpublic] information through securities transactions.”

Id. at 2209.

        Paragraph 120’s allegation that Skilling sold Enron stock

while    in     possession    of    material,   non-public   information    can

constitute a deceptive device or contrivance only if the material,

nonpublic information was a factor in Skilling’s decision to make

the charged trades because if it were not a factor, no breach of


                                        -12-
     Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 13 of 26



his fiduciary duty to the Enron shareholders would have occurred.

See Dirks, 103 S.Ct. at 3264 (“insiders [are] forbidden by their

fiduciary relationship from personally using undisclosed corporate

information to their advantage”); Teicher, 987 F.2d at 121 (finding

it    unnecessary    to   decide   whether   the   existence    of   a   causal

connection between nonpublic information and an alleged trade is

required to prove liability for insider trading since the jury in

that case had found that when the trades occurred the defendant

possessed information that he knew to be fraudulently obtained,

material, and nonpublic, and had also found that the trades were

not made in good faith upon concluding that no reasonable jury

could have made these findings without also finding that the

defendant had used the nonpublic information to make the trades);

SEC v. Lipson, 278 F.3d 656, 660 (7th Cir. 2002) (recognizing that

government bears the burden of persuading the jury that the

defendant’s trades were influenced by the inside information that

he possessed).      Moreover, since the government admits that the SSI

accuses Skilling of having used material, nonpublic information in

making the charged trades, and Skilling has not cited any case in

which an insider accused of trading securities while in possession

of confidential information has been held liable for violation of

§ 10b and Rule 10b-5 absent evidence that the trades operated as a

fraud and deceit upon members of the investing public, or that the

insider making the trades did not knowingly and willfully breach a


                                      -13-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 14 of 26



fiduciary duty owed to the shareholders of his corporation, the

court is not persuaded that the allegations of insider trading

asserted against Skilling fail to allege the appropriate mens rea

(guilty mind).


     2.      Non-Public Information at Issue

     Skilling argues that the insider trading counts should be

dismissed because they fail to identify “any specific material,

non-public information” underlying each alleged insider trade.8

Skilling argues that without notice of which material, nonpublic

information he is charged with using in the 40 trades he is unable

to defend these counts.9     Asserting that the trades at issue took

place on different dates over a 17-month period, and that the SSI

does not specify what information he allegedly knew at each point

in time, Skilling asserts that “[t]his lack of specificity is

prejudicial.”10      Although   Skilling   acknowledges    that   the   SSI

“alleges a wide variety of corporate malfeasance (e.g., the Count

One conspiracy, Raptors, Cuiaba, Nigerian Barges, Global Galactic,

prepays, EBS, EES business failures, Project Braveheart, McGarret

transactions A through V, etc.),”11 he argues that forcing him to




     8
      Skilling Memorandum, p. 13.
     9
      Id.
     10
          Id. at p. 14.
     11
          Id. at p. 13.

                                   -14-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 15 of 26



defend against such a “‘litany of actions’ — only some of which the

Task Force could plausibly claim justify insider trading charges —

is impermissible.”12

     As Skilling recognizes, the paragraphs of the SSI incorporated

into the insider trading counts identify the types of material non-

public information that he allegedly possessed and could have used

in connection with his sales of Enron stock.           Each of the insider

trading counts alleged against Skilling sets forth the date, the

number of shares traded, the price, and the resulting proceeds, and

incorporate     by   reference    allegations    of   his   contemporaneous

knowledge of efforts to deceive the public about Enron’s true

financial performance.       (SSI ¶ 120)     For example, ¶ 32 of the SSI

alleges that from approximately July 1999 through October 2001

Skilling caused Enron to enter into a series of transactions with

special purpose entities that enabled him and his co-conspirators

to manipulate Enron’s reported financial results by fraudulently

omitting poorly performing assets from Enron’s balance sheet, by

engaging in transactions designed to close gaps between Enron’s

actual     results   and   its   stated   financial   reporting   goals,    by

manufacturing earnings through sham transactions, and by backdating

documents to inflate the value of Enron’s investment portfolio.

     Paragraph 62 of the SSI alleges that Skilling filed or caused

to be filed with the SEC false annual 10-K reports for the years



     12
          Id. at p. 14.

                                     -15-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 16 of 26



ending     December    31,   1999,   and    December      31,    2000,    and    false

quarterly reports for the quarters ending September 30, 1999,

March 31, 2000, June 30, 2000, September 30, 2000, March 31, 2001,

and June 30, 2001.      The SSI alleges that when the trades charged in

Counts 42 and 43 occurred on April 25 and April 26, 2000, Skilling

knew that Enron’s earnings were inflated by use of the LJM special

purpose entities (SSI ¶¶ 30-32), the Raptor hedges (SSI ¶¶ 33-35),

the Nigerian Barge deal (SSI ¶¶ 39-40), and Project Grayhawk

(SSI ¶¶ 50-51); that when the trades charged in Counts 44 through

50 occurred in August, September, and November of 2000 Skilling

also knew that in July of 2000 Enron had fraudulently reported an

earnings-per-share rate of 34 cents instead of 32 cents (SSI ¶ 54);

and   that    when    the    trade   charged      in     Count   51   occurred      on

September     17,    2001,   Skilling      also   knew    that    Enron    had    used

“Schedule C” reserve funds to conceal EES’s losses (SSI ¶ 57) and

knew that EBS had failed (SSI ¶ 73).

      The court concludes that these allegations are sufficient to

place Skilling on notice of material, nonpublic information on

which the trades charged in Counts 42 through 51 are based.

Accordingly, the court is not persuaded that Counts 42 through 51

should be dismissed for the lack of factual particularity.


      3.     Count 51

      Skilling argues that Count 51 should be dismissed because it

cites a trade made on September 17, 2001, after he resigned as CEO


                                        -16-
    Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 17 of 26



and fails to allege the duty element of the offense.                    Citing Colby

v. Hologic, Inc., 817 F.Supp. 204, 215 (D. Mass. 1993), Skilling

argues that although the SSI alleges that he served as an employee

or consultant of Enron from the late 1980s to December of 2001, the

SSI “fails to allege facts sufficient to establish that . . . [he

owed     a     fiduciary    duty     to   Enron’s    shareholders]       after    his

resignation         based   on   a   consultancy     or   any    other   cognizable

theory.”13

       The classical theory of insider trading applies not only to

officers, directors, and other permanent insiders of a corporation,

but also to attorneys, accountants, lawyers, and other consultants

who become temporary fiduciaries of a corporation by entering into

a   confidential         relationship     in     conducting     the   corporation’s

business and are given access to nonpublic corporate information

solely for corporate purposes.                 See Dirks, 103 S.Ct. at 3262 &

n.14; O’Hagan, 117 S.Ct. at 2207. For the purposes of its analysis

in Dirks, the Supreme Court treated a former corporate officer as

an insider bound by fiduciary duties owed to the corporation’s

shareholders.         Dirks, 103 S.Ct. at 3255.               See also Burlington

Industries, Inc. v. Edelman, 666 F.Supp. 799, 814 (M.D.N.C.),

aff’d,       1987   WL   91498     (4th   Cir.    June    22,   1987)    (“As    Dirks

elucidates, a former corporate officer . . . retains the status of




       13
            Id. at p. 15.

                                          -17-
     Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 18 of 26



an    ‘insider’         despite   the    cessation   of    employment   with   the

corporation.”).

        Skilling’s duty to refrain from trading on material, non-

public information flowed from the fiduciary duty that he owed to

Enron’s shareholders. Although Skilling no longer worked for Enron

on September 17, 2000, when the trade charged in Count 51 occurred,

since        he   is    alleged   to    have   possessed   material,    non-public

information about Enron that he acquired while employed as an

officer of the company, the fiduciary duty that he owed to Enron’s

shareholders did not cease upon his resignation but continued to

apply to him as a former employee for as long as the information

that he acquired as an officer remained material and nonpublic.

Accordingly, the court is not persuaded that Count 51 should be

dismissed because the government has failed to allege that Skilling

owed a duty to Enron or its shareholders on September 17, 2000.


                  IV.   Skilling’s Motion to Strike Paragraph 65

        “For the same reasons set forth in defendant Richard Causey’s

. . . motion [to dismiss the analyst call counts (Docket Entry

No. 378], defendant Jeffrey Skilling moves to strike paragraph 65

of the Indictment.”14 Paragraph 65 alleges that Skilling “directed”




        14
      Jeffrey Skilling’s Joinder in Defendant Richard A. Causey’s
Motion to Dismiss Counts 21, 22, 24, 25, 26, 28 & 29 for Failure to
State an Offense and Failure to Allege an Offense with Specificity
(Defense Motion 7) (Skilling Joinder), Docket Entry No. 397, p. 1.

                                           -18-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 19 of 26



a “conspirator” to answer a technical earnings-and-accounting-

related question posed at an analyst conference that occurred on

January 22, 2001, and that the conspirator answered the question in

a way that Skilling “‘knew . . . misled analysts about the sources

of E[nron] B[roadband] S[ervices]’ earnings in the fourth quarter

of 2000’ and supported ‘Skilling’s claims that EBS continued to be

successful and a major positive factor contributing to Enron’s

stock price.’”15 Asserting that “liability based on silence[] turns

on an analysis of the defendant’s own prior statements and whether

defendant’s      silence   made   his   previous   statements    false      or

misleading,”16 Skilling argues that paragraph 65 should be stricken

because it “alleges conduct that is not actionable under the




     15
          Id.   Paragraph 65 alleges that

     In support of SKILLING’s claims that EBS continued to be
     successful and a major positive factor contributing to
     Enron’s stock price, a conspirator misled analysts during
     the call about the source of EBS’s earnings in the fourth
     quarter of 2000. After being directed by SKILLING to
     answer a question about the source of EBS’s revenues, the
     conspirator said that one-time, nonrecurring transactions
     such as sale of “dark fiber” and part of EBS’s nascent
     video-on-demand    venture   with   Blockbuster   company
     accounted for “a fairly small amount” of EBS’s revenues.
     In fact, as SKILLING and CAUSEY knew, the sale of
     projected future revenues from the Blockbuster video-on-
     demand venture accounted for $53 million of EBS’s fourth
     quarter 2000 revenues of $63 million.
     16
      Jeffrey Skilling’s Joinder in Defendant Richard A. Causey’s
Motion to Dismiss Counts 21, 22, 24, 25, 26, 28 & 29 for Failure to
State an Offense and Failure to Allege an Offense with Specificity
(Defense Motion 7) (Skilling Joinder), Docket Entry No. 397, p. 1.

                                    -19-
     Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 20 of 26



securities laws but prejudicially could be confused as such.”17

Citing Barrie v. Intervoice-Brite, Inc., 397 F.3d 249 (5th Cir.

2005) (Barrie I), the ETF argues that Skilling’s motion to strike

¶ 65 should be denied because Skilling had a duty to correct the

material misrepresentations that the SSI alleges a conspirator made

at his direction.18


A.     Primary Liability Under § 10b and Rule 10b-5

       In Barrie investors brought securities fraud actions against

a software company and its officers alleging fraudulent recognition

of revenue.       Barrie I, 397 F.3d at 249.            The complaint identified

twenty-three          allegedly       fraudulent     statements       of     earnings

projections, only twelve of which were attributed to the company or

one of the individual defendants.             Id. at 259.      The district court

dismissed       six    statements     as   failing   to     satisfy   the    pleading

requirements       of   the   Private      Securities     Litigation       Reform   Act

(PSLRA), 15 U.S.C. § 78u-4(b), because they failed to adequately

identify the speaker. Id. at 261. Three statements were dismissed

because they were attributed to “Hammond and Graham.”                      Id.

       On     appeal    the   Fifth    Circuit     issued    conflicting         rulings

regarding the dismissal of the three statements attributed to




       17
            Id. at pp. 1-2.
       18
      Government’s Consolidated Response to Defendants’ Pretrial
Motions, Docket Entry No. 416, pp. 77-84.

                                           -20-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 21 of 26



“Hammond and Graham.”     See Barrie I, 397 F.3d at 261-263.         First,

the Fifth Circuit ruled that the district court properly dismissed

claims based on statements attributed to “Hammond and Graham” in

paragraphs 38, 59, and 68 because they failed to satisfy the

pleading requirements of the PSLRA.         Id. at 261 (“The district

court correctly held that ‘the allegation that “Hammond and Graham”

made a statement does not identify the speaker;         it merely narrows

the range of possible speakers down to two people.’          ‘[T]he PSLRA

requires the plaintiffs to distinguish among those they sue and

enlighten each defendant as to his or her particular part in the

alleged fraud.’    Southland Sec. Corp. v. INSpire Ins. Solutions

Inc., 365 F.3d 353, 362 (5th Cir. 2004). . .           These claims were

properly dismissed.”).      Then, the Fifth Circuit ruled that the

district court did not properly dismiss the claims based on

statements attributed to “Hammond and Graham” in paragraphs 38, 59,

and 68 because those allegations implied that one defendant spoke

the fraudulent statement and that the other defendant failed to

correct it.   See id. at 263.

     Recognizing that the panel’s opinion had “inadvertently made

conflicting   rulings    regarding    the   allegations     contained       in

paragraphs 38, 59, and 68 of the plaintiffs’ complaint” regarding

the statements attributed to “Hammond and Graham,” the Fifth

Circuit modified the opinion published in Barrie I in a subse-

quently issued opinion.     See Barrie v. Intervoice-Brite, Inc., 409


                                   -21-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 22 of 26



F.3d 653, 656 (5th Cir. 2005) (Barrie II).         In pertinent part the

Barrie II opinion states that

     [t]he district court held that “the allegation that
     ‘Hammond and Graham’ made a statement does not identify
     the speaker; it merely narrows the range of possible
     speakers down to two people.”     The plaintiffs argue,
     however, that defendants who silently listened as others
     made statements that they knew were false are liable for
     their omission in failing to correct a falsehood. They
     claim that whether a particular statement during a
     conference call or a road show was uttered by Hammond or
     Graham, both are liable: one for the utterance, and the
     other for the omission in failing to correct the
     falsehood. As one district court held:

          a high ranking company official cannot sit
          quietly at a conference with analysts, knowing
          that   another   official  is   making   false
          statements.    If nothing else, the former
          official is at fault for a material omission
          in failing to correct such statements in that
          context.   In re SmarTalk Teleservices, Inc.
          Sec. Litig., 124 F.Supp.2d 527, 543 (S.D. Ohio
          2000).

     The defendants argue that this reasoning is inapplicable
     in this case, because the Complaint did not specify
     whether Hammond spoke and Graham failed to correct, or
     vice versa. They assert that the allegations concerning
     Hammond and Graham are deficient given this Court’s
     rejection of the group pleading doctrine . . .

     We reject the defendants’ argument. Where it is pled
     that one defendant knowingly uttered a false statement
     and the other defendant knowingly failed to correct it,
     even if it is not alleged which defendant made the
     statement and which defendant did not correct it, the
     fraud is sufficiently pleaded as to each defendant. . .
     The Complaint’s allegations that false statements were
     made by “Hammond and Graham” imply that one of them made
     the statement and the other knowingly failed to correct
     it. Accordingly, both Hammond and Graham are on fair
     notice of the claims against them. The district court
     erred in dismissing the claims attributed to Hammond and
     Graham when the allegations sufficiently indicated that


                                   -22-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 23 of 26



     one had spoken the fraudulent statement, and the other
     had failed to correct it.

Id. at 655-656 (emphasis added).

     Skilling argues that the ETF’s reliance on Barrie is misplaced

because in that case the Fifth Circuit upheld a civil complaint

alleging failure to correct while “[t]he [a]nalyst [c]all [c]ounts

[charged] against . . . [him] contain no such allegations (i.e.,

failure to correct), rendering them constitutionally infirm under

this theory.”19   The court is not persuaded by Skilling’s argument

because the Fifth Circuit’s Barrie II opinion clearly describes the

issue before it as arising from “[p]aragraphs 38, 59, and 68 [of

the complaint which] attribute statements to “Hammond and Graham,”

id. at 655, and from the plaintiffs’ arguments (not allegations)

     that defendants who silently listened as others made
     statements that they knew were false are liable for their
     omission in failing to correct a falsehood. They claim
     that whether a particular statement during a conference
     call or a road show was uttered by Hammond or Graham,
     both are liable: one for the utterance, and the other
     for the omission in failing to correct the falsehood.

Id. at 655-656.

     Since the Fifth Circuit explained that “[t]he [c]omplaint’s

allegations that false statements were made by Hammond and Graham

imply that one of them made the statement and the other knowingly




     19
      See Defendant Richard A. Causey’s Reply Memorandum in Support
of Motion to Dismiss Counts 21, 22, 24, 25, 26, 28 & 29 (the
Analyst Call Counts) [Defense Motion 7], Docket Entry No. 422, p. 3
(citing Barrie I, 397 F.3d at 262-263).

                                   -23-
     Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 24 of 26



failed to correct it,” id. at 656 (emphasis added), and held that

the complaint’s allegations placed “both Hammond and Graham . . .

on fair notice of the claims against them, id., the court is not

persuaded that the allegations against Skilling in ¶ 65 should be

dismissed because they do not expressly allege that Skilling failed

to correct allegedly false statements attributed to a conspirator.

Paragraph 65 alleges that Skilling violated § 10(b) by directing a

conspirator to answer an analyst question, and that Skilling knew

the conspirator’s answer to the question was false. The allegation

that     Skilling     knew   that   the   statements    attributed    to   the

conspirator were false implies that Skilling knowingly failed to

correct the conspirator’s false statements.             Moreover, since the

allegations contained in ¶ 65 are more specific than those found to

satisfy the heightened pleading requirements of the PSLRA in

Barrie II, which did not distinguish the vocal from the silent

defendant, the court is not persuaded that the allegations asserted

in ¶ 65 should be stricken because it alleges conduct that is not

prohibited by the securities laws.


B.     Secondary Liability Under 18 U.S.C. § 2

       Skilling argues that “[a]iding-and-abetting theories similarly

do not save . . . [¶ 65] for the reasons explained in Causey’s

motion.”20      “Aiding and abetting is not a separate offense, but it




       20
            Skilling’s Joinder, at p. 2.

                                      -24-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 25 of 26



is an alternative charge in every indictment, whether explicit or

implicit.”   United States v. Neal, 951 F.2d 630, 633 (5th Cir.

1992).    Unless Skilling can show unfair surprise, it is not an

abuse of discretion to instruct the jury on aiding and abetting

regardless of whether the elements of aiding and abetting are

expressly alleged in the SSI.         Id.   See also United States v.

Lombardi, 138 F.3d 559, 561 (5th Cir. 1998).        Since the aiding and

abetting statute, 18 U.S.C. § 2, is cited at the end of the

paragraph of the SSI that charges Skilling and his codefendants

with the analyst call counts (¶ 103), and since Skilling has not

alleged unfair surprise, the court is not persuaded that it should

“decline to instruct the jury on an aiding and abetting theory at

trial with respect to . . . [the analyst call] counts”21 without

first allowing the government to present evidence at trial.22


     21
      See Defendant Richard A. Causey’s Reply Memorandum in Support
of Motion to Dismiss Counts 21, 22, 24, 25, 26, 28 & 29 (the
Analyst Counts), Docket Entry No. 422, p. 4 & n.3.
     22
      To convict Skilling of aiding and abetting under 18 U.S.C.
§ 2 the government will have to prove that (1) the offense of
securities fraud was committed by some person, (2) Skilling
associated with the criminal venture, (3) Skilling purposefully
participated in the criminal venture, and (4) Skilling sought by
his actions to make that venture succeed. See United States v.
Garcia, 242 F.3d 593, 596 (5th Cir. 2001). See also Nye & Nissen
v. United States, 69 S.Ct. 766 (1949) (“In order to aid and abet
another to commit a crime it is necessary that a defendant ‘in some
sort associate himself with the venture, that he participate in it
as in something that he wishes to bring about, that he seek by his
action to make it succeed.’”).       “‘Associate’ means that the
defendant shares in the principal’s criminal intent.” Garcia, 242
F.3d at 596. “‘Participate’ means that the defendant engages in
some affirmative conduct designed to aid the venture or assists the
                                                     (continued...)

                                   -25-
  Case 4:04-cr-00025 Document 609 Filed on 12/29/05 in TXSD Page 26 of 26



                      V.    Conclusions and Order

     For the reasons explained above the court is not persuaded

that the insider trading counts (Counts 42 through 51) charged

against Skilling should be dismissed for failure to allege the

appropriate mens rea.      Nor is the court persuaded that ¶ 65 of the

SSI should be stricken for failure to allege facts capable of

establishing either primary liability under 15 U.S.C. § 78j(b) or

secondary liability under 18 U.S.C. § 2.        Accordingly, Jeffrey K.

Skilling’s Motion to Dismiss Counts 42 Through 51 of the Second

Superseding Indictment (Insider Trading Counts) [Defense Motion

No. 5] (Docket Entry No. 389) is DENIED, and Jeffery K. Skilling’s

Joinder in Defendant Richard A. Causey’s Motion to Dismiss Counts

21, 22, 24, 25, 26, 28 & 29 (Defense Motion No. 7) (Docket Entry

No. 397), in which Skilling moves the court to strike ¶ 65 of the

SSI, is DENIED.

     SIGNED at Houston, Texas, on this 28th day of December 2005.




                                                    SIM LAKE
                                          UNITED STATES DISTRICT JUDGE




     22
      (...continued)
perpetrator of the crime.” Id. Since the analyst calls alleged in
Counts 21 through 30 each constitute an individual offense, the
criminal venture alleged in each count is the securities fraud
perpetrated by each analyst call, and for Skilling to be convicted
for aiding and abetting the securities fraud offenses alleged in
any of these counts, “he must have aided and abetted each material
element of the alleged offense.” Id. at 561-562 (distinguishing
aiding and abetting from conspiracy).

                                   -26-
